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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      WESTERN DIVISION

UNITED STATES OF AMERICA                                         PLAINTIFF

v.                            No. 4:12-cr-186-DPM

WALLANDO ONEZINE; KEITH SANDERS;
DEVON TRANELL McCLAIN; MARK AARON
ZANE PRUITT; LANDON COPE; JUSTIN PENNOCK
ALEX EVANS; and HUNTER GLADDEN                               DEFENDANTS

                                  ORDER

     Because of the uncertainty about whether we're going to trial, the Court

will proceed with the questionnaire for potential jurors. The Court has

updated the dates and made some minor changes. Otherwise the letter and

questionnaire are substantively the same as last year's versions. NS! 201.

     Here's the timeline. The Clerk will mail everything out by 14 July 2014.

The Clerk will duplicate responses, assign a number to each, and distribute

them to counsel by 4 August 2014. Counsel must meet and confer by 10

August 2014 to determine if they are agreed that certain potential jurors

should be excused. Each party must file any objections- referring to potential

jurors only by number- by 11 August 2014. Also note any agreement about

excusing any potential juror. The Court will rule on any objections at the pre-

trial on 14 August 2014. During the hearing, counsel must refer to potential
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jurors only by their assigned number.

     So Ordered.

                                  D.P. Marshall Jr. /
                                  United States District Judge
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKA~SAS
                 Richard Sheppard Arnold United States Courthouse
                           600 West Capitol, Room B149
                         Little Rock, Arkansas 72201-3325

D.P. MARSHALL JR.                                                   (501) 604-5410
U.S. District Judge                                      FAX:       (501) 604-5417


                                  10 July 2014



                                            Re:   United States v. Wallando
                                                  ("Wiley") Onezine, Keith
                                                  ("Key") Sanders, Devon
                                                  Tranell McClain, Mark Aaron
                                                  Zane Pruitt, Landon Cope,
                                                  Justin Pennock, Alex Evans,
                                                  and Hunter Gladden
                                                  4:12-cr-186-DPM



Dear Prospective Juror:

      The Court and the parties need your help in selecting the jury for this

case. The Defendants are charged with various heroin-related drug crimes

and firearms crimes. Please complete and return the enclosed questionnaire

by 28 July 2014. Only the Court and the lawyers will see your answers. We

need this information to select a qualified and impartial jury.

      Follow these instructions until you have been excused from further

service in this case:
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     •     Do not read or listen to any news accounts whether in a
           newspaper, on the television, on the radio, or on the
           Internet concerning this case or the defendants.

      •    Do not at any time discuss this case with anyone, including
           your friends, fan1ily 1nembers, or other members of this jury
           panel.


      •    Do not let anyone, including friends, family members, court
           personnel, parties in this case, or persons invo]ved in the
           case, talk to your about your views or any aspect of this case
           except officially in the courtroom.

     The jurors will live at hmne and have evenings and weekends free. The

Court will hold trial Monday through Friday, from 8:00a.m. until around 4:00

p.m. The trial will begin on September 2, 2014 and is expected to last six

weeks. Your contact with other people will not be restricted during the trial,

although you will not be permitted to talk about the case with anyone, or

read, listen to, or watch any press coverage the case might receive.

      Please answer each question completely and accurately. Keep in mind

that there are no right or wrong answers. Do not talk with or consult relatives

or friends in answering the questionnaire. Fill it out on your own as best you

can. Do not leave any questions blank. If a question doesn't apply to you in

any way, answer "Not Applicable" or "N/ A."          If you cannot answer a

question because you don't understand it, answer "Do not understand." If
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you cannot answer a question because you don't know the answer, write "Do

not know." If you need extra space to answer any question, please use the

blank space at the end of the questionnaire. Be sure to indicate on the blank

space the number of the question you're answering.

     Sign the questionnaire when you're done answering it. Your answers

will have the effect of a statement under oath.

     When the jury-selection process begins in court, you'll probably be

asked some follow-up questions based on one or more of your answers to the

questionnaire. If there is any personal or confidential information you prefer

to discuss privately, you'll have an opportunity to do so during the selection

process in court.

      Thank you for following all these instructions and for answering the

questionnaire carefully and honestly. Your full cooperation is very important

to the Court, the parties, and the administration of justice under law.

                                          Very truly yours,



                                          D.P. Marshall Jr.
                                          U.S. District Judge
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                                                         CONFIDENTIAL

1. Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

2. Age:__ Sex: __         Race or National Origin:

3. City of Residence:                           Zip Code: _ _ _ _ __

4. How long have you lived at your current residence? - - - - - - -

5. How long have you lived in Arkansas? - - - - - - - - - -

6. Please list all cities and states where you have lived during the past ten

     years: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




7. Where did you grow up? (Please list all places, if more than one.)




8. Place of Birth:

9.   a. Do you have difficulty reading, speaking,
        or understanding English?                          Yes          No

     b. Is English your primary language?                  Yes          No

     c. Can you read and write without difficulty?        Yes        No

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           If not, please describe the difficulty. - - - - - - - - - - - -




10. a. Do you have:
                Hearing difficulties?                    Yes         No
                Difficulties in seeing?                  Yes         No
                Someone to care for?                     Yes         No
                Regular doctor's appointments?           Yes         No
                Or other similar problems?               Yes         No

      b. If "yes" to any of the above, please explain:




11.    This trial is estimated to last six weeks and will be a challenge for
       everyone. If service on this jury would result in undue hardship for you,
       please explain the hardship in detail:




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12. a. Do you have any health problems that would make it difficult to sit in
       court and listen to evidence or actively participate in jury deliberations
       daily for several weeks? This would include any condition affecting
       your memory or other faculties, mental, or physical.

                                                            Yes        No

    b. If yes, please briefly explain: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




13. a. Is there anything else of a personal or professional nature that might
       make it difficult for you to concentrate on this trial?

                                                           Yes        No

     b. If yes, please briefly explain: - - - - - - - - - - - - - - -




14. a. Do you have travel, vacation, or any other important family or
       professional commitment planned between September 2, 2014, and
       October 10, 2014?
                                                       Yes        No


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   b. If yes, please explain in detail (include dates, destination, the nature
      of your plans (work/leisure), and whether these plans can be changed):




15. a. Have you, your spouse, or anyone close to you ever been arrested for
       or charged with a crime?

                                                        __Yes          No

     b. If yes, please explain. Include the crime charged, court, and outcome
        of the case.




     c. Did you feel the judicial system worked fairly in those matters?

                                                           Yes         No




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     d. If no, please explain why you believe it did not work fairly.




16. a. Is there anything about your opinion of the judicial system or criminal
       justice system that might affect your ability to be a fair and hnpartial
       juror?
                                                              Yes      No

    b. If yes, please explain: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




17. a. The individuals who 1nay be on trial in this case are:

                         Wallando "Wiley" Onezine
                           Keith "Key" Sanders
                          Devon Tranell McClain
                          Mark Aaron Zane Pruitt
                               Landon Cope
                              Justin Pennock
                                Alex Evans
                              Hunter Gladden

 Do you know any of these individuals, or think you may have heard of them?
                                                        Yes     No




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b.   If yes,   please   explain: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




18. a. The charges in this case allege that the death of        ,-
       - ' o r both, resulted from the use of heroin distributed in this
       case. D~ may have known or have heard o f -
       - ' - ' or both of them?
                                                     _Yes _No
      b. If yes, please explain:




19. a. Have you, a relative, or a close friend ever been arrested for or charged
       with a crime involving the possession or distribution of any controlled
       substance?
                                                           Yes     No




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     b. If yes, please explain. Include the crime charged, court, and outcome
        of the case.




     c. Did you feel the justice system worked fairly in those matters?

                                                  Yes    No

     d. If no, please explain why you believe it did not work fairly.




20. What is your main source of news?         _Newspaper
                                                Radio
                                                TV News
                                                Conversation with others
                                                Cable News
                                                Internet


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21. What newspapers, magazines, or websites do you read on a regular basis,
    if any? ______________________________________________________




22.   The United States charges various drug critnes and alleges that two
      deaths resu I ted frmn the use of the heroin. But this is not a capital1nurder
      case, and the death penalty is not an issue here. The United States also
      charges one of the defendants with various firearms offenses.


      a. Is there anything about the nature of these charges that makes you
         feel it would be difficult or impossible for you to be an impartial and
         fair juror?
                                           Yes        No          Not sure




      b. If yes or not sure, please explain:




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23. a. There have been a few reports in the media about this case. Do you
         think you may have seen, read, or heard something about this case?
        (This includes anything you may have been told about the case by
        friends, relatives, or co-workers.)
                                                      _ _ Yes           No
      b. If yes, please explain:




24.     a. Have you read or posted any comments about this case, or anyone
          involved in this case, on a blog or any other website?

                                                 - - Yes           No
        b. If yes, please explain:




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25.    a. Do you have an opinion about whether any defendant is guilty or
          not guilty of the crimes with which he has been charged?
                                              _ _ Yes          No
       b. If yes, please explain:




27. If you are selected to serve as a juror on this case, would you be
    concerned about reactions to the verdict, whether guilty or not guilty,
    by:

       Friends                      ___Yes ___ No
       Relatives                    ____Yes    No
       The media                    _____Yes   No
       People in the community      ____ Yes   No



       If yes, what kind of concerns would you have?       Please explain:




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28. Do you have any religious beliefs that prevent you fron1 sitting in
    judgn1ent of others?
                                               __Yes         No


29. Have you, your spouse, family member, or any one close to you ever
    been in law enforce1nent? If yes, please briefly explain.




30. Do you have any difficulty sitting as a fair and impartial juror in a case
    involving heroin?
                                                      __Yes          No




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31. Have you, your spouse, family member, or anyone close to you ever
    undergone treatment, hospitalization, or confine1nent for drug use? If
    yes, please briefly explain.
                                                    __ Yes        No




32. Do you have any difficulty sitting as a fair and impartial juror in a case
    involving firearms?
                                                       __Yes          No


33.    a.    Is there anything else that you would like to bring or need to
             bring to the attention of the Court or the attorneys in this case?

                                                        __Yes          No

       b.    If yes, please explain:




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        34.   a.    As a result of filling out this questionnaire, have you now
                    formed any opinion about this case?
                                                                 Yes      No
               b.   If yes, please explain:




                                  Supplemental Answers




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      I declare that my answers are true and correct to the best of my

knowledge.   I understand that it is a crime under 18 U.S.C. § 1001,

punishable by up to five years imprisonment, to make a false statement to

the Court.



Signature:                                     Date:

Name:

Address:




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